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           In the United States Court of Federal Claims
                                            No. 20-816
                                       Filed: August 7, 2020
                                                )
 BLACKFOOT APACHE                               )
 ADMINISTRATION TRUST,                          )
                                                )
                        Plaintiff,              )
                                                )
            v.                                  )
                                                )
 THE UNITED STATES,                             )
                                                )
                        Defendant.              )
                                                )
                             ORDER DISMISSING CASE SUA SPONTE
         On June 24, 2020, plaintiff, Blackfoot Apache Administration Trust, proceeding pro se, filed its
Complaint with this Court. Rule 83.1(a)(3) of the Rules of the Court of Federal Claims (“RCFC)
states, in relevant part, that “[a]n individual who is not an attorney . . . may not represent a corporation,
an entity, or any other person in any proceeding before this Court.” As the plaintiff is an
Administrative Trust, plaintiff may not proceed as a pro se litigant. See RCFC 83.1(a)(3). Finally, in
its Complaint, plaintiff’s claims appear to be against agents of the State of Texas or against individuals
therein, rather than against the Federal Government. See Complaint at 1–3. While the Court declines
to rule on the merits of plaintiff’s claims, it notes that this Court’s jurisdiction is limited to the review
of claims against the United States for monetary damages—not sounding in tort—that are founded
upon the Constitution, an Act of Congress, an executive department regulation, or an express or
implied contract with the United States. See 28 U.S.C. § 1491(a)(1) (2018). As such, the Court lacks
jurisdiction over claims against private individuals or state actors. See id.; see also Fries v. United
States, No. 16-394, et al., 2016 U.S. Claims LEXIS 323, at *5 (FedS. Cl. Apr. 20, 2016) (holding, in
part, that the Court lacks jurisdiction over claims against private individuals, as such claims are not
cognizably against the United States).
        For the forgoing reasons, plaintiff’s Complaint is hereby sua sponte DISMISSED without
prejudice, pursuant to RCFC 41(b), for failure to comply with the filing requirements of this Court.
The Clerk is directed to enter judgment consistent with this Order.
       IT IS SO ORDERED.

                                                       Loren A. Smith
                                                       Loren A. Smith,
                                                       Senior Judge
